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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                    DISTRICT OF MAINE


    COMCAST OF MAINE/NEW HAMPSHIRE,
    INC., et al.,
           Plaintiffs,
                                                        CIVIL ACTION NO.: 1:19-cv-00410-NT
                   v.
    JANET MILLS, in Her Official Capacity as
    the Governor of the State of Maine, et al.,
           Defendants.


                        STATE DEFENDANTS’ ASSENTED-TO MOTION TO
                        STAY FURTHER PROCEEDINGS PENDING APPEAL

          The State Defendants 1 respectfully request that further proceedings in this Court be

stayed pending resolution of the State Defendants’ appeal of this Court’s order granting

plaintiffs’ preliminary injunction motion. In support, the State Defendants state as follows:

      1. At issue in this case is P.L. 2019, ch. 308 (“Chapter 308”), which requires cable operators

          to offer subscribers the option of individually purchasing cable channels and programs.

      2. On September 11, 2019, plaintiffs filed a Motion for Preliminary Injunction seeking to

          enjoin enforcement of Chapter 308, arguing the Chapter 308 is preempted by federal law

          and violates the First Amendment. See Docket Item 14.

      3. On December 20, 2019, following briefing and oral argument, the Court entered an order

          denying injunctive relief based on plaintiffs’ preemption claim but granting relief based

          on their First Amendment claim. See Docket Item 91.




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 The State Defendants are the Governor and the Attorney General, who are both sued in their official
capacities.
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  4. The Court found that the evidentiary record was not sufficiently developed to make a

     final determination on plaintiffs’ claims for declaratory and permanent injunctive relief,

     and it directed the Clerk of Court to enter a scheduling order to govern further

     proceedings. Id.

  5. On January 17, 2020, the State Defendants filed a Notice of Appeal to the United States

     Court of Appeals for the First Circuit of this Court’s order granting injunctive relief.

  6. “[T]he First Circuit's response to the interlocutory appeal is likely to inform the future

     handling of the case, and may well affect the nature and scope of discovery.” Bruns v.

     Mayhew, No. 1:12-CV-00131-JAW, 2013 WL 12234023, at *2 (D. Me. May 24, 2013).

     Potential guidance from the First Circuit may also “assist[] the expeditious and cost-

     effective resolution of this lawsuit.” Id.

  7. The State Defendants are not seeking a stay of the injunction, so plaintiffs will face no

     risk of enforcement of Chapter 308 pending resolution of the appeal.

  8. The plaintiffs have no objection to further proceedings in this Court being stayed during

     the pendency of the appeal.

     Wherefore, the State Defendants respectfully request that further proceedings in this

  Court be stayed pending resolution of the appeal.




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DATED: January 23, 2020                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this, the 23rd day of January, 2020, I electronically filed the

above document with the Clerk of Court using the CM/ECF system which will send notification

of such filing to the following:

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